Case 3:23-cr-00460-M         Document 49     Filed 02/03/25   Page 1 of 3   PageID 128



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA                        CASE NO. 3:23-CR-460-M

v.

COREY WILSON



                            GOVERNMENT’S EXHIBIT LIST

 Number                 Item Description             Bates Number Offered Admitted
   1                  Photograph of Device             541-542
                       (ATF Ex. 000001)
     2                Photograph of Device              544-545
                       (ATF Ex. 000002)
     3                Photograph of Device              547-548
                       (ATF Ex. 000003)
     4                Photograph of Device              550-551
                       (ATF Ex. 000004)
     5                Photograph of Device              553-554
                       (ATF Ex. 000005)
     6                Photograph of Device              556-557
                       (ATF Ex. 000006)
     7                Photograph of Device              559-560
                       (ATF Ex. 000007)
     8                Photograph of Device              562-563
                       (ATF Ex. 000008)
     9                Photograph of Device              565-566
                       (ATF Ex. 000009)
     10               Photograph of Device              568-569
                       (ATF Ex. 000010)
     11               Photograph of Device              571-572
                       (ATF Ex. 000011)
     12               Photograph of Device              574-575
                       (ATF Ex. 000012)
     13               Photograph of Device              577-578
                       (ATF Ex. 000013)
     14               Photograph of Device              580-581
                       (ATF Ex. 000014)

Government’s Exhibit List—Page 1
Case 3:23-cr-00460-M         Document 49   Filed 02/03/25        Page 2 of 3   PageID 129



    15               Photograph of Device             583-584
                      (ATF Ex. 000015)
    16               Photograph of Device             586-587
                      (ATF Ex. 000016)
    17               Photograph of Device             589-590
                      (ATF Ex. 000017)
    18               Photograph of Device             592-593
                      (ATF Ex. 000018)
    19               Photograph of Device             595-596
                      (ATF Ex. 000019)
    20               Photograph of Device             598-599
                      (ATF Ex. 000020)
    21               Photograph of Device             601-602
                      (ATF Ex. 000021)
    22               Photograph of Device             604-605
                      (ATF Ex. 000022)
    23               Photograph of Device             607-606
                      (ATF Ex. 000023)
    24               Photograph of Device             610-611
                      (ATF Ex. 000024)
    25               Photograph of Device             613-614
                      (ATF Ex. 000025)
    26               Photograph of Device             616-617
                      (ATF Ex. 000026)
    27        Video of May 30, 2023 purchase of       IHR_03
                            Devices
    28        Video of June 6, 2023 purchase of       IHR_08
                            Devices
    29           Instagram messages between                 28
               defendant and undercover agent
    30            Story from Instagram Page             324
    31            Video from Instagram Page             325
    32            Video from Instagram Page             326
    33           Test Fire Exhibit 1 – Video 1          517
    34           Test Fire Exhibit 1 – Video 2          518
    35           Test Fire Exhibit 1 – Video 3          519
    36           Test Fire Exhibit 1 – Video 4          520
    37           Test Fire Exhibit 1 – Video 5          521
    38           Test Fire Exhibit 1 – Video 6          522
    39           Test Fire Exhibit 7 – Video 1          523
    40           Test Fire Exhibit 7 – Video 2          524
    41           Test Fire Exhibit 7 – Video 3          525


Government’s Exhibit List—Page 2
Case 3:23-cr-00460-M         Document 49     Filed 02/03/25      Page 3 of 3   PageID 130



    42            Test Fire Exhibit 7 - Video 4            526
    43            Test Fire Exhibit 7 – Video 5            527
    44              Eisenbise June 27, 2023                1-7
                     Determination Report
    45            Eisenbise December 4, 2023             508-516
                        Test Fire Report
    46                NFA Search Results                   639
    47                      Reserved
    48                      Reserved
    49                      Reserved
    50                      Reserved

                                           Respectfully submitted,

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Government’s Exhibit List—Page 3
